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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 DALE ROBERT WHITE, ET AL.,                                  CIVIL ACTION
     Plaintiffs

 VERSUS                                                      NO. 11-2186 c/w 12-359

 INTEGRATED ELECTRONIC                                       SECTION “E”
 TECHNOLOGIES, INC., ET AL.,
     Defendants

 Applies to: Both Cases

                                        ORDER
      The above-entitled matter came before the Court on the Parties’ Joint Motion to

Approve FLSA Settlement and Memorandum in Support (Doc. 200). The Court, having

reviewed the proposed Receipt and Release (“Agreement”), and the Motion and

Memorandum in Support, hereby finds that the Agreement was negotiated at arm’s length

by the parties, and that the Agreement is a fair and reasonable resolution of a bona fide

dispute under the FLSA. The Court therefore ORDERS that:

      1.     The Joint Motion to Approve FLSA Settlement is GRANTED and the terms

set forth in the Agreement are approved as fair and reasonable resolution of the bona fide

dispute between Plaintiffs and Defendants.

      2.     The Receipt and Release (attached as an exhibit to Plaintiff’s Unopposed

Motion, filed under seal) is APPROVED.

      3.     Defendants are hereby ORDERED to pay the amounts set forth in the

Agreement in accordance with the terms of the Agreement.

      4.     After payments to Plaintiffs and their counsel have been made, the parties

shall promptly submit a joint stipulation dismissing this action with prejudice.




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       5.     Ninety (90) days after the last payment is due, if the joint stipulation

dismissing the action has not been filed, the parties shall file a report providing the status

of the completion of the payments.

       6.     The parties agree that the Court shall retain jurisdiction to enforce the terms

of the Settlement Agreement.

       IT IS SO ORDERED.



       New Orleans, Louisiana, this 2nd day of August, 2016.


                      _______________________ ________
                               SUSIE MORGAN
                          UNITED STATES DISTRICT JUDGE




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